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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                         Plaintiff,                 )
                                                      )
10          v.                                        ) 2:12-CR-453-APG-(GWF)
                                                      )
11 REBEKAH FOUQUET,                                   )
                                                      )
12                         Defendant.                 )
13                                      FINAL ORDER OF FORFEITURE

14          On September 26, 2013, the United States District Court for the District of Nevada entered an

15 Amended Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2) and Title 21,

16 United States Code, Section 853(a)(1), (a)(2), and (p) based upon the plea of guilty by defendant

17 REBEKAH FOUQUET to the criminal offense, forfeiting the property set forth in the Plea

18 Agreement, the Bill of Particulars, and the Forfeiture Allegations of the Indictment and shown by the

19 United States to have the requisite nexus to the offense to which defendant REBEKAH FOUQUET

20 pled guilty. Indictment, ECF No. 1; Bill of Particulars, ECF No. 74; Change of Plea, ECF No. 82; Plea

21 Agreement, ECF No. 83; Amended Preliminary Order of Forfeiture, ECF No. 121.

22          This Court finds the United States of America published the notice of forfeiture in accordance

23 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

24 from October 2, 2013, through October 31, 2013, notifying all potential third parties; and notified

25 known third parties by personal service or by regular mail and certified mail return receipt requested,

26 of their right to petition the Court. Notice of Filing Proof of Publication, ECF No. 134.
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 1           On October 22, 2013, Clark County Assessor c/o County Assessor Michele F. Shafe, was

 2 personally served with the Notice, Preliminary Order of Forfeiture, and Amended Preliminary Orders

 3 of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No. 146, p. 2-18.

 4           On October 22, 2013, Clark County District Attorney’s Office c/o District Attorney Steven B.

 5 Wolfson, was personally served with the Notice, Preliminary Order of Forfeiture, and Amended

 6 Preliminary Orders of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No.

 7 146, p. 19-35.
 8           On October 22, 2013, Clark County Recorder c/o County Recorder Debbie Conway, was

 9 personally served with the Notice, Preliminary Order of Forfeiture, and Amended Preliminary Orders

10 of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No. 146, p. 36-52.

11           On October 22, 2013, Clark County Treasurer c/o County Treasurer Laura B. Fitzpatrick, was

12 personally served with the Notice, Preliminary Order of Forfeiture, and Amended Preliminary Orders

13 of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No. 146, p. 53-69.

14           On October 22, 2013, Clark County Water Reclamation District c/o Clark County Clerk Diana

15 Alba, was personally served with the Notice, Preliminary Order of Forfeiture, and Amended

16 Preliminary Orders of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No.

17 146-1, p. 1-17.

18           On October 22, 2013, Clark County Water Reclamation District c/o Chairman Larry Brown,

19 was personally served with the Notice, Preliminary Order of Forfeiture, and Amended Preliminary

20 Orders of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No. 146-1, p. 18-34.

21           On October 22, 2013, Clark County Clerk c/o County Clerk Diana Alba, was personally served

22 with the Notice, Preliminary Order of Forfeiture, and Amended Preliminary Orders of Forfeiture.

23 Notice of Filing Service of Process – Personal Service, ECF No. 146-1, p. 35-51.

24           On October 22, 2013, Clark County Board of Commissioners c/o Clark County Clerk Diana

25 Alba, was personally served with the Notice, Preliminary Order of Forfeiture, and Amended

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 1 Preliminary Orders of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No.

 2 146-1, p. 52-68.

 3           On October 23, 2013, Southern Nevada Water Authority c/o General Manager Patricia Mulroy,

 4 was personally served with the Notice, Preliminary Order of Forfeiture, and Amended Preliminary

 5 Orders of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No. 146-2, p. 1-17.

 6           On October 23, 2013, Southern Nevada Water Authority c/o General Counsel Gregory J.

 7 Walch, was personally served with the Notice, Preliminary Order of Forfeiture, and Amended
 8 Preliminary Orders of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No.

 9 146-2, p. 18-34.

10           On October 23, 2013, Las Vegas Valley Water District, c/o General Manager Patricia Mulroy,

11 was personally served with the Notice, Preliminary Order of Forfeiture, and Amended Preliminary

12 Orders of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No. 146-2, p. 35-51.

13           On October 23, 2013, Las Vegas Valley Water District, c/o President Mary Beth Scow, was

14 personally served with the Notice, Preliminary Order of Forfeiture, and Amended Preliminary Orders

15 of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No. 146-2, p. 52-68.

16           On October 23, 2013, Las Vegas Valley Water District, c/o General Counsel Gregory J. Walch,

17 was personally served with the Notice, Preliminary Order of Forfeiture, and Amended Preliminary

18 Orders of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No. 146-3, p. 1-17.

19           On October 22, 2013, City of Las Vegas Attorney’s Office c/o City Attorney Bradford Jerbic,

20 was personally served with the Notice, Preliminary Order of Forfeiture, and Amended Preliminary

21 Orders of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No. 146-3, p. 18-34.

22           On October 22, 2013, City of Las Vegas Clerk’s Office c/o City Clerk Beverly Bridges, was

23 personally served with the Notice, Preliminary Order of Forfeiture, and Amended Preliminary Orders

24 of Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No. 146-3, p. 35-51.

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 1           On October 22, 2013, City of Las Vegas Sewer c/o City Clerk Beverly Bridges, was personally

 2 served with the Notice, Preliminary Order of Forfeiture, and Amended Preliminary Orders of

 3 Forfeiture. Notice of Filing Service of Process – Personal Service, ECF No. 146-3, p. 52-68.

 4           On November 8, 2013, The Corporation Trust Company of Nevada, Registered Agent for

 5 Republic Silver State Disposal, Inc., was served by regular and certified return receipt mail with the

 6 Notice, Preliminary Order of Forfeiture, and Amended Preliminary Orders of Forfeiture. Notice of

 7 Filing Service of Process – Mailing, ECF No. 145, p. 2-8 and 15-30.
 8           On November 8, 2013, Jeff D. Andrews, President for Republic Silver State Disposal, Inc., was

 9 served by regular and certified return receipt mail with the Notice, Preliminary Order of Forfeiture,

10 and Amended Preliminary Orders of Forfeiture. Notice of Filing Service of Process – Mailing, ECF

11 No. 145, p. 2 and 9-30.

12           On January 6, 2014, Clark County filed a Petition to Assert Legal Interest in Forfeited

13 Property. Petition to Assert Legal Interest in Forfeited Property, ECF No. 150.

14           On January 15, 2014, the United States filed a Settlement Agreement, Stipulation for Entry of

15 Order of Forfeiture as to Clark County, and Order. Settlement Agreement, Stipulation for Entry of

16 Order of Forfeiture as to Clark County, and Order, ECF. No. 155.

17           On January 21, 2014, the Court entered an Order granting the Settlement Agreement,

18 Stipulation for Entry of Order of Forfeiture as to Clark County, and Order. Order, ECF No. 156.

19           This Court finds no other petition was filed herein by or on behalf of any person or entity and

20 the time for filing such petitions and claims has expired.

21           This Court finds no petitions are pending with regard to the assets named herein and the time

22 for presenting such petitions has expired.

23           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

24 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

25 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

26 . . .


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 1 32.2(c)(2); and Title 21, United States Code, Section 853(a)(1), (a)(2), (n)(7), and (p) and shall be

 2 disposed of according to law:

 3                  1. $18,290.00 in United States Currency;

 4                  2. Real property and improvements situated at 6399 Briney Deep Avenue, Las Vegas,

 5                      NV 89139, more particularly described as Lot 48 in block 1 of Pinnacle II at

 6                      Pinnacle Peaks, as shown by map thereof on file in Book 106, of Plats Page 93 in

 7                      the office of the County Recorder of Clark County, Nevada, APN: 176-11-613-048;

 8                  3. $2,422.00 in United States Currency;

 9                  4. Gents stainless steel Rolex Oyster Perpetual Datejust wristwatch and band, black

10                      diamond dial, diamond bezel (aftermarket), 37mm case, model #1162234, serial

11                      #Z586603, Movement #3 1504912, 122.3 grams; and

12                  5. Mid-size stainless steel Rolex Oyster Perpetual Datejust wristwatch and band,

13                      aftermarket diamond bezel, silver dial, luminous stick markers, date window,

14                      31.5mm case, movement #186547, model #178274, serial #D899431, 89.4 grams.

15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

16 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

17 income derived as a result of the United States of America’s management of any property forfeited

18 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

19          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

20 certified copies to the United States Attorney’s Office.

21          DATED this ___
                       24thday
                            dayofof______________,
                                    January, 2014. 2014.
22

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24
                                                  UNITED STATES DISTRICT JUDGE
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